                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


                                                 )
KINETIC CONCEPTS, INC., KCI                      )
LICENSING, INC., KCI USA, INC., KCI              )
MEDICAL RESOURCES, MEDICAL                       )
HOLDINGS LIMITED, KCI                            )
MANUFACTURING, and WAKE FOREST                   )
UNIVERSITY HEALTH SCIENCES                       )
                                                 )
                    Plaintiffs,                  )
                                                 )
      v.                                         )   Case No. 1:08-CV-00918
                                                 )
CONVATEC, INC., BOEHERINGER                      )
WOUND SYSTEMS, LLC, and                          )
BOEHERINGER TECHNOLOGIES, L.P.                   )
                                                 )
                    Defendants.

                                                 )
AND RELATED COUNTERCLAIMS                        )
                                                 )

                   STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiffs Kinetic Concepts, Inc., KCI Licensing, Inc., KCI USA, Inc., KCI

Medical Resources, Medical Holdings Limited, KCI Manufacturing (collectively “KCI”)

and Plaintiff Wake Forest University Health Sciences (“Wake Forest”) hereby stipulate

that any and all of their claims against Defendants ConvaTec, Inc. (“ConvaTec”),

Boeheringer Wound Systems, LLC, and Boeheringer Technologies, L.P. (collectively,

“Boehringer”) in the above-captioned action (whether denominated as claims,

counterclaims, crossclaims or otherwise) are dismissed with prejudice pursuant to Rule 41



                                           -1-




    Case 1:08-cv-00918-WO-LPA Document 341 Filed 06/03/13 Page 1 of 6
of the Federal Rules of Civil Procedure. Defendants ConvaTec and Boehringer hereby

stipulate that any and all of their claims against KCI and Wake Forest in the above-

captioned action (whether denominated as claims, counterclaims, crossclaims or

otherwise) are dismissed with prejudice pursuant to Rule 41 of the Federal Rules of Civil

Procedure. Accordingly, all parties jointly stipulate that the above-captioned action is

dismissed with prejudice. This stipulation shall not extinguish any claims (whether

denominated as claims, counterclaims, crossclaims or otherwise) or defenses in any other

case as between Wake Forest and KCI.

       Plaintiffs and Defendants agree that each party shall bear and assume its own costs

and expenses, including attorneys’ fees, in this action.

   Date: June 3, 2013




                                             -2-




     Case 1:08-cv-00918-WO-LPA Document 341 Filed 06/03/13 Page 2 of 6
                             Respectfully submitted,




                            /s/ Timothy G. Barber
                            Timothy G. Barber
                                   North Carolina State Bar No. 12851
                                   tbarber@kslaw.com
                            Antonio E. Lewis
                                   North Carolina State Bar No. 35409
                                   alewis@kslaw.com
                            KING & SPALDING LLP
                            100 North Tryon Street, Suite 3900
                            Charlotte, North Carolina 28202
                            Telephone: 704-503-2600
                            Facsimile: 704-503-2622


                            Paul A. Bondor
                                    pbondor@desmaraisllp.com
                            Joseph C. Akalski
                                    jakalski@desmaraisllp.com
                            DESMARAIS LLP
                            230 Park Avenue
                            New York, New York 10169
                            Telephone: 212-351-3400
                            Facsimile: 212-351-3401

                            Attorneys for Plaintiffs Kinetic Concepts, Inc.,
                            KCI Licensing, Inc., KCI USA, Inc., KCI Medical
                            Resources, Medical Holdings Limited, and KCI
                            Manufacturing




                               -3-




Case 1:08-cv-00918-WO-LPA Document 341 Filed 06/03/13 Page 3 of 6
                            /s/ Clinton R. Pinyan
                            James T. Williams, Jr.
                                   North Carolina State Bar. No. 4758
                                   jwilliams@brookspierce.com
                            Clinton R. Pinyan
                                   North Carolina State Bar No. 22260
                                   cpinyan@brookspierce.com
                            BROOKS PIERCE McLENDON
                              HUMPHREY & LEONARD, L.L.P.
                            Post Office Box 26000
                            Greensboro, North Carolina 27420
                            Telephone: 336-373-8850
                            Facsimile: 336-378-1001


                            Matthew D. Powers
                                   matthew.powers@tensegritylawgroup.com
                            Monica M. Eno
                                   monica.eno@tensegritylawgroup.com
                            Paul T. Ehrlich
                                   paul.ehrlich@tensegritylawgroup.com
                            Stefani C. Smith
                                   stefani.smith@tensegritylawgroup.com
                            TENSEGRITY LAW GROUP, LLP
                            555 Twin Dolphin Drive, Suite 360
                            Redwood Shores, California 94065
                            Telephone: 650-802-6000
                            Facsimile: 650-802-6001

                            Attorneys for Plaintiff Wake Forest
                            University Health Sciences




                               -4-




Case 1:08-cv-00918-WO-LPA Document 341 Filed 06/03/13 Page 4 of 6
                             /s/ Gregory P. McGuire
                             Gregory P. McGuire
                                    N.C. State Bar No. 24114
                                    greg.mcguire@ogletreedeakins.com
                             OGLETREE, DEAKINS, NASH, SMOAK
                             & STEWART, P.C.
                             4208 Six Forks Road, Suite 1100
                             Raleigh, North Carolina 27609
                             Telephone: 919-787-9700
                             Facsimile: 919-783-9412


                             Thomas H. Beck
                                    tbeck@sidley.com
                             Jesselyn C. Pe
                                    jpe@sidley.com
                             Paul J. Zegger
                                    pzegger@sidley.com
                             SIDLEY AUSTIN LLP
                             787 Seventh Avenue
                             New York, New York 10019
                             Telephone: 212-839-5300
                             Facsimile: 212-839-5599

                             Attorneys for Defendant Convatec, Inc.


                             /s/ Gregory P. McGuire
                             Gregory P. McGuire
                                    N.C. State Bar No. 24114
                                    greg.mcguire@ogletreedeakins.com
                             OGLETREE, DEAKINS, NASH, SMOAK
                             & STEWART, P.C.
                             4208 Six Forks Road, Suite 1100
                             Raleigh, North Carolina 27609
                             Telephone: 919-787-9700
                             Facsimile: 919-783-9412




                               -5-




Case 1:08-cv-00918-WO-LPA Document 341 Filed 06/03/13 Page 5 of 6
                             Douglas A. Robinson
                                   drobinson@hdp.com
                             Rudolph A. Telscher, Jr.
                                   rtelscher@hdp.com
                             HARNESS, DICKEY & PIERCE, PLC
                             7700 Bonhomme, Suite 400
                             Clayton, Missouri 63105
                             Telephone: 314-726-7500
                             Facsimile: 314-726-7501

                             Attorneys For Defendants Boehringer Wound
                             Systems, LLC and Boehringer Technologies, LP




                               -6-




Case 1:08-cv-00918-WO-LPA Document 341 Filed 06/03/13 Page 6 of 6
